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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 12CR1149-3-WQH

                     Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
VICTOR MANUEL GOMEZ-PEREZ(3),

                     Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

     8:1324(a)(1)(A)(ii) and (V)(I) - Conspiracy to Transport Illegal

     Aliens

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: MAY 1, 2012
                                           DAVID H. BARTICK
                                           UNITED STATES DISTRICT JUDGE
